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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                            TYLER DIVISION


TEJAS RESEARCH, LLC,

                       Plaintiff,
                                            Civil Action No. 6:12-cv-00296
          v.
                                             JURY TRIAL DEMANDED
VIVID ENTERTAINMENT, LLC; AND
VIVID ENTERTAINMENT GROUP,
                                                    LEAD CASE
                       Defendants.




TEJAS RESEARCH, LLC,

                       Plaintiff,
                                            Civil Action No. 6:12-cv-00299
          v.
                                             JURY TRIAL DEMANDED
PLAYBOY ENTERPRISES, INC;
AND PLAYBOY.COM, INC.
                                              CONSOLIDATED CASE
                       Defendants.




TEJAS RESEARCH, LLC,

                       Plaintiff,
                                            Civil Action No. 6:12-cv-00300
          v.
                                             JURY TRIAL DEMANDED
WALGREENS.COM, INC.; AND
WALGREEN CO.,
                                              CONSOLIDATED CASE
                       Defendants.
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TEJAS RESEARCH, LLC,

                       Plaintiff,
                                         Civil Action No. 6:12-cv-00301-LED
          v.
                                             JURY TRIAL DEMANDED
ISTOCKPHOTO LP; AND
GETTY IMAGES, INC.,
                                              CONSOLIDATED CASE
                       Defendants.




TEJAS RESEARCH, LLC,

                       Plaintiff,
                                         Civil Action No. 6:12-cv-00302-LED
          v.
                                             JURY TRIAL DEMANDED
LFP INTERNET GROUP, LLC,
                                              CONSOLIDATED CASE
                       Defendant.




TEJAS RESEARCH, LLC,

                       Plaintiff,
                                            Civil Action No. 6:12-cv-00303
          v.
                                             JURY TRIAL DEMANDED
THE NEIMAN-MARCUS GROUP, INC.,
NEIMAN MARCUS, INC.,                          CONSOLIDATED CASE
                     Defendants.
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TEJAS RESEARCH, LLC,

                                Plaintiff,
                                                              Civil Action No. 6:12-cv-00304
                v.
                                                                JURY TRIAL DEMANDED
ACADEMY, LTD D/B/A
ACADEMYSPORTS + OUTDOORS D/B/A
                                                                 CONSOLIDATED CASE
ACADEMY SPORTS AND OUTDOORS;
AND ACADEMY.COM, L.L.C.,

                                Defendant.


                            ORDER OF DISMISSAL WITH PREJUDICE

        CAME ON THIS DAY for consideration of the Stipulated Motion for Dismissal With Prejudice

of all claims and counterclaims asserted between plaintiff, Tejas Research, LLC, and defendants

Walgreens.com, Inc. and Walgreen Co., in this case, and the Court being of the opinion that said motion

should be GRANTED, it is hereby

        ORDERED, ADJUDGED AND DECREED that all claims asserted in this suit between plaintiff,

Tejas Research, LLC, and defendants Walgreens.com, Inc. and Walgreen Co., are hereby dismissed with

prejudice, subject to the terms of that certain agreement entitled “SETTLEMENT AND LICENSE

AGREEMENT” and dated October 9, 2012.

        It is further ORDERED that all attorneys’ fees and costs are to be borne by the party that incurred

them.




                     So ORDERED and SIGNED this 15th day of October, 2012.




                                             __________________________________
                                             LEONARD DAVIS
                                             UNITED STATES DISTRICT JUDGE
